


  Per Curiam.
 

  Travis Hugh Mallen was admitted to practice by this Court in 2007 and lists a business address in Burbank, California with the Office of Court Administration. Mallen now seeks leave to resign from the New York bar for nondisciplinary reasons (see Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Mallen’s application.
 

  Upon reading Mallen’s affidavit sworn to July 28, 2017 and filed with this Court on July 31, 2017, and upon reading the September 6, 2017 correspondence in response by the Chief Attorney for AGC, and having determined that Mallen is eligible to resign for nondisciplinary reasons, we grant his application and accept his resignation.
 

  Peters, P.J., McCarthy, Rose, Aarons and Pritzker, JJ., concur.
 

  Ordered that Travis Hugh Mallen’s application for permission to resign is granted and his nondisciplinary resignation is accepted; and it is further ordered that Travis Hugh Mallen’s name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further ordered that, effective immediately, Travis Hugh Mallen is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Mallen is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold himself out in any way as an attorney and counselor-at-law in this State; and it is further ordered that Travis Hugh Mallen shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to him.
 
